                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

STERLING D. BROWN,

               Plaintiff,

        v.                                                   Civil Action No. 2:18-cv-922

CITY OF MILWAUKEE, CITY OF
MILWAUKEE CHIEF OF POLICE ALFONSO
MORALES, in his official capacity, SERGEANT
SEAN A. MAHNKE, SERGEANT JEFFREY S.
KRUEGER, OFFICER JOSEPH J. GRAMS,
OFFICER BOJAN SAMARDZIC, OFFICER
JAMES P. COLLINS, OFFICER CRISTOBAL
MARTINEZ AVILA, OFFICER ERIK A.
ANDRADE, and OFFICER JASON P. JENSEN,

            Defendants.
______________________________________________________________________________

                        STIPULATION FOR EXTENSION OF TIME


        The undersigned counsel on behalf of the represented parties in the above-captioned matter,

hereby agree and stipulate to extend Plaintiff’s deadline to reply to Defendants Response to

Plaintiff’s Motion to Strike Rule 68 Offer of Judgment from November 22, 2019 to November 27,

2019.




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DATED: 11/22/2019                                GINGRAS, THOMSEN & WACHS, LLP
                                                 Attorneys for Plaintiff

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Dated: 11/22/2019                                CITY OF MILWAUKEE
                                                 Attorneys for Defendants

                                          By:    s/Naomi E. Gehling
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